                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
                             Plaintiff,         §
 v.                                             § Case No.: SA-22-CR-219-FB
                                                §
                                                §
 GAVIN BLAKE DAVIS                              §
                              Defendant.


               GOVERNMENT’S NOTICE OF INTENTION TO OFFER
               DOMESTIC RECORDS OF REGULARLY CONDUCTED
      ACTIVITIES AND PUBLIC RECORDS AND MOTION TO DEEM ADMISSIBLE



        The United States of America hereby files its notice for admission of certain business and

electronic records by certification pursuant to Fed. R. Evid. 803(6), 902(11), and 902(13).

        The Government obtained the following business and electronic process records during

its investigation and provided those records to the defense during discovery. The business record

providers provided certifications of business and electronic process records which are attached to

this notice and motion as Exhibits 1 & 2. The following records and certifications were obtained:

        1. Google Inc., documents for GAVINPRIVATE96@gmail.com, hash values for

production:

               gavinprivate96@gmail.com.426018443926.GoogleAccount.SubscriberInfo_001.zip:
               MD5- d4265aa1d347d826a29761120eabbc0d
               SHA512-
               0d402a7c5a6312b37677699306f349ffdf6ae0372abcc6b3b2875220df901b29f3af89f25d8fba8d87
               3eb2cd00a2dee4fe0a30d5489cdcaa39e927f3b3f827f9
               gavinprivate96@gmail.com.426018443926.GooglePay.CustomerInformation_001.zip:
               MD5- 79af6fa87e410852ed8f558a42cf9d00
               SHA512-
               d8ad0e1c7b022efc2db7e6c1ed500fd355ce67cb68938aa2ad44ac9d4508b7728e448880882f32741
               0475bb92c4e27b7b11d0cbf1e923aadba909f086dca922e
       These documents include the following: Google subscriber information belonging to

Gavin Davis for GAVINPRIVATE96@gmail.com, google account ID information, and IP

activity. A copy of the documents and business records affidavit for Google is attached as

Exhibit 1.



       2. Google Inc., documents for GAVINPRIVATE96@gmail.com, hash values for

production:

                         gavinprivate96.Chats.Preserved.zip:
                         MD5- 151d41c7cb63c198a9cb530d3d0a172f
                         SHA512-
                         e795358fa4cd7c450084e5c0931c2b3862889ab237a87a4e1dbe4be10c48951895a08879bc
               7944dc
                         655e06a389baae6723cbb96c108d580d7c9adf420dbcbcb7
                         gavinprivate96.Drive.Metadata.Preserved.zip:
                         MD5- 255e3da3a9fc6e87420b4bb33c08ab0d
                         SHA512-
                         62057ac920f06af721ccacd50a9c5db60210a3ab47a5b0fedd08947fe2f148be9cfd74ba2a5d
               2eccbe0
                         93454599e74b6bfd85cb9cdef47a2c009ccd093a30e2d
                         gavinprivate96.Drive.Metadata.zip:
                         MD5- 120eb9a44f83b2ad7a449b641165b3a7
                         SHA512-
                         45c6c024119a802d471580a0d7b1fe2193c9743e508141fe136bce9132412f04f9d55bec74
               535bd82
                         7374730ce64a20fbe9d75a8f5f0c25228db64b031405036
                         gavinprivate96.Drive.zip:
                         MD5- d4777568652c0213033a98ff63d73f58
                         SHA512-
                         76d8bc740c7f352a9cc53762414accf330914e07bbacda2e7a82f656cbe639fa3817a7f644d
               97d352f
                         89467a47574d695224a54be9d93ee1febee11f28b4855d
                         gavinprivate96.Drive_001.Preserved.zip:
                         MD5- 7c95a19d1a6db2dffaa37ca131e9adfc
                         SHA512-
                         22de7862d81539e3207b9df36f687dd56c5636cd237ec633a0c4df45b71ae2724e01a1b267
               230d2cf
                         259477a6dfd3c3e5f29e91078e38ab33b6f4f1fd667f804
                         gavinprivate96.Drive_002.Preserved.zip:
                         MD5- 701ec247e9df90e4bbc5c70145b63241
                         SHA512-
                         63c382f50f4336c73328e7ea7a224c8392943385b204a016e5aca39154f9eb437aba68ebf35
               ac703fc
                         080dbdba1f5202734e7af7a70d1c16ffe3a359c17f04ea
                         gavinprivate96.Gmail.Contacts.Preserved.vcf:
                         MD5- 074ce243b6edf8783217e06a48e3d6d2
                         SHA512-
          80cb7ad872da1495f3909d250852ab7e13cd54df07cffd55a33df6233ca74ac89671f9691af
b4eb1b5
          f40342958942a35c36c5cfc0858e278173eb56a479a220
          gavinprivate96.Gmail.Contacts.vcf:
          MD5- f66a253ff1b3b99f61b27a92f593e9a8
          SHA512-
          ca1a74b81f2c56a4fccb6c4d592dd323a807ad2d978157bd44798227bf9eabd74c937d680a
7f43016
          99cb7a899c5bca43e58a64ce3dc43a2de3bebb025fc8fe1
          gavinprivate96@gmail.com.426018443926.Calendar.Calendars_001.zip:
          MD5- 9ecea08684ed164f3b8d250482657e43
          SHA512-
          71429a45c479ccd29d27ea4c5fdc5afeae40b72ce0daaeb38cc4cea0db21c57a05e9bf4c1d3
b5481bf
          3d77ab68c3d54b7fa70c930bad371185c49356132af5ab
          gavinprivate96@gmail.com.426018443926.DriveMobileBackups.Backup_001.Preserved
.zip:
          MD5- 7bbe1c99d92b9da78b8352bf3f7a6287
          SHA512-
          eade88418b0f4fce724913f91718089c06fb235ec8a01e5af8ae0bd445c9e09c4464e008dca
7d6ac00
          54d171c9fa156969d37170dbef539859dd6e5dfe34961a
          gavinprivate96@gmail.com.426018443926.DriveMobileBackups.Backup_001.zip:
          MD5- 0ca90b72c86ffff79c1671f0205bea86
          SHA512-
          e1425ba53cfff8ac12bcdf13cfcd7d937b9cb49b73234535571bed1dc049fdae67f88beaafb8
ccf24b6
          14b27e3454d44bbfc3ca231dc0e16842402e65faa6633
          gavinprivate96@gmail.com.426018443926.GoogleAccount.SubscriberInfo_001.zip:
          MD5- 1a64510e0ddd505add8905fba1d7b112
          SHA512-
          7fbf37d958bc63d1ae76c0a1576caf9d06fbe36abf3d4c9cc60f94632a128296e928cbff535a
fcc2123
          96207120c6eb81e8084b6133ee9e419e2936ed682e163
          gavinprivate96@gmail.com.426018443926.GoogleChat.GroupInfo_001.Preserved.zip:
          MD5- 7c1d8e87137ef720e89a151648e4ee5b
          SHA512-
          3f5b2610a341e4221e49751ee3275b5491c164b080505c0bbc79d6b09263922d820b7c71f
8b5be7e
          07b1235d23b58739a27d55bcb39686e13677982ff1600aba
          gavinprivate96@gmail.com.426018443926.GoogleChat.GroupInfo_001.zip:
          MD5- f923f1b0ca839c4d5d6bb1b0f077ee3b
          SHA512-
          63a12093e70201362af6348dd936bc7ecccb474999fc3b3ae6adfd9813bb053cfe40ffb6ef00
23499d
          e11a88d4c9ad01fad8bcdd5b9370ea6cb62983d71444a4
          gavinprivate96@gmail.com.426018443926.GoogleChat.GroupTasks_001.Preserved.zip:
          MD5- b125c9c5b1435f5b51d9dc48d54b9cdd
          SHA512-
          f1f0bf399d3eea1ed9cd8fada7636f858989130e45a1e1b983c773b5a2bd15dd0928996c454
f908b6c
          05c8f7836f4d229d2f7a2a3e062a67efb81729a831cef1
          gavinprivate96@gmail.com.426018443926.GoogleChat.GroupTasks_001.zip:
          MD5- 74c4b96fca3e4ffdb197328846b93948
          SHA512-
          4b5ede6f767b274fa6a59042468ad7521a3909d209f79436bc3e8ce8fc0221ef56aff090215
9caae57
          36ecdc2ceed11a14c720cd37c2d1ad5c04bc08dc56e42b
          gavinprivate96@gmail.com.426018443926.GoogleChat.Messages_001.Preserved.zip:
          MD5- 6795d2ca0566361d24be485619f2a9d4
          SHA512-
          8c31aa8ba33bd1b17ca0d8deea8549d44c288965477b7c4da4e5f56bc9030771e877be766e
7f0936d
          ace32149010d1d3048885d57a3a4ba5a7510bbfa272b485
          gavinprivate96@gmail.com.426018443926.GoogleChat.Messages_001.zip:
          MD5- 7ac75d31386ebd4bc947b46a75b07457
          SHA512-
          df26bd27acfd6eb40e887f4a7122e50449c18cb0a7dc2566bfc69d584651a80aad67b51bb8c
c2bc9e
          28146f9825564a181132dffeb16294153a46dc3c0ed85d0
          gavinprivate96@gmail.com.426018443926.GoogleChat.UserInfo_001.zip:
          MD5- 0888f0c13c573b1655e33657a826774b
          SHA512-
          7efce7c8074a9a888a0de3fa1d6288b614c9219142278894ade6f1322db5aebfc6b2c716d98
6738a4
          6e1b48f2a3038183fbdf006c0dfe7c5ff3ca39d843a2a77
          gavinprivate96@gmail.com.426018443926.GooglePay.CustomerInformation_001.zip:
          MD5- da61762a6d3a8aa9ca30f354de17fd32
          SHA512-
          3eb4c6ac3658ba60a791ce0451180726d5675c67002f18a267b2f567ae05aecd0881f439d5
355c4b9
          ad4eb5b953bf28cebd030089005a72b558f237ee17f9231
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_001.001.zip:
          MD5- 0e1a18429d4c06316656bd319fe93fe8
          SHA512-
          92ea1da5d95af9012cebbacd260ef12a521a817018ee50335cf0691598b0ab4d6de0676be3
1155b42
          dffa409ebd96e1f5e52a9637a8df7f626a420356931ce39
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_001.Preserved
.zip:
          MD5- 1083bad15b92f671d672852c85002f3c
          SHA512-
          ca458d1485c468f309fd61e4421dde907377670ee494e92eec79e8c56cc02726048f299823
76257ee
          e6c1fb98d9d7fc68eb74aa242221b58d8426c02615d6e9b
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_002.001.zip:
          MD5- a86c9957d98b1688d759f59ab3d18af3
          SHA512-
          345380848f5fedd2bd24ff560dad62068ce6d33e82c95706b693549470930afe406294d400
cf90770
          401b862d280f54cae3eaab5a723ef3e6a480e0c19648f07
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_002.Preserved
.zip:
          MD5- dce521c4358cc37c056d8a731325cd64
          SHA512-
          3933b52bd45cbd53305e01fb7a8bd0ec49eb6424a8fa43de32755456035a2758032d42658f
65e95b
          3f740587e0b7c2c4b05e54f1634ba77f67dec68a42e6e971
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_003.001.zip:
          MD5- 46a65e25ad2f4ea5abeb5aa4ed82872c
          SHA512-
          72ea1c15d455981dcfe4164a23a5068251b9dce08094a46e638444a531c79fc44682996987
459be0
           ba03cae60512d9315fbc041fc5d74d50ad74805d41b18bf0
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_003.Preserved
.zip:
           MD5- 4e5f8090de95e066b1a87c45121c9a7d
           SHA512-
           28f38f4c898b77760f22cd6d8553da23503726f3b7fb310bbbd41a48335cc13999854b8d6f
95c332c
           9130674ba83cb3893c3cf64059c82567721d7f4f9abebdb
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_004.001.zip:
           MD5- 1867cc9839afb5b32fbcdd6bdb3817ba
           SHA512-
           e6f572bdbd8f122f5df17b338abbde69043d83f0a523d151de2413ad0510b305a850f962fb7
3e4e87
           48af7604d29787024b929e2ebaba40790157c68f3ad8a2a
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_004.Preserved
.zip:
           MD5- a154b5b8de4b62d69688f40c04b3070e
           SHA512-
           c377ad7d7fc036603f2579a65f68473d60fd3e7715c93db963e9e35a843c1b2521e89912b4
c22dc21
           8d516f0c55fe1389942d4f62c32dc507a840dbe4242b22c
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_005.001.zip:
           MD5- 69760aab5f48a2f4850b32a7d7d1700b
           SHA512-
           73bc6f0914feab754d4bf5c769b75a68cabe5ee273fcf1519619fc8a39a0a1e129ed83fec07c
1ff8c0aa
           ac752d4a2ca82dc8c50f94c6ad8bdd7aba02499de0a9
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_005.Preserved
.zip:
           MD5- 93fcd449366826189c59932aa1c63b89
           SHA512-
           6253bfd7de464523cb61396b973cc49e0f90d895137c55c284012b82d884ce021fd42cbfab
343f3ee
           885e33bc41b80b98587288bf0a8291e86a2d74be22e175c
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_006.001.zip:
           MD5- cc78690c3eff20119f713d7ea3f212bd
           SHA512-
           22ab35067e476a377ea5bd1c441521467af630d06b83c6eea126ecda8a3e06a7a6f9a8bfc2b
723991
           14eb52db2cebeff4b4c1a28933c3ffa0dbf59e15e4659b8
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_006.Preserved
.zip:
           MD5- 443c38dab53f9698fc385adc53fb4330
           SHA512-
           2a81b8c66b645a15e635023a24e85e57889246458dd6be9a9c8ede59d899a478e1efe8b30a
5c2c140
           7decaf56adac0cd0a97b6077e642c0652c88469dffcfbc3
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_007.001.zip:
           MD5- 16ac0d7d9b2690560537753314b0f6cb
           SHA512-
           36b5be747e26c1aeea3f891933c12398956a96c5b42f616e4c2e3122f800599f6cb13faf511
6509678
           5a70efe52e3af3f95cd30fdf8056dfb7935a8c51da9941
           gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_007.Preserved
.zip:
          MD5- 85ef3cfe239588852b52ad9b3a8d1e3c
          SHA512-
          0d3516e77ac7435b25940ccea564d8452eefc6681a9b347166fc8c42683fafc72e1678849d4
6412fd8
          40c86618781c7510bf52effa31fe0e15fb36461dd74e2a
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_008.001.zip:
          MD5- 73cccc95966447482170e738d8d50c38
          SHA512-
          098577304066a2163e93263ce28e6f0f7d2255a706626f96b216c180d4de359339a80381ce
b7d92b
          17fcbff20036b475c92bd448bf9eb7ecf6a31fbbd0f2f06f
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_008.Preserved
.zip:
          MD5- eb9f584a0dcda620d1b5faf51cd59139
          SHA512-
          39fc942b2812a1b3481cb6b2302a7a6d6de20ed6c143a88274b06b98f66dd39e6ee2fa38a8
4b911e5
          6a3e51b4180769afbbc325ebd185a0a7e3eae7fb5b25214
          gavinprivate96@gmail.com.426018443926.GooglePhotos.PhotoResource_009.Preserved
.zip:
          MD5- 1e315741006f7e9e0ac752d2300bb97e
          SHA512-
          6d52570cabc6dce33ad784f25ee5458716127361cb824febf4aebecb763e820625d959b98d
9447769
          09b2754b3c21d8c10a7204a1db69f8b13520e4e4430fb4d
          gavinprivate96@gmail.com.426018443926.Hangouts.ContentAndMetadata_001.zip:
          MD5- 54bc59099533e553419694190bfd8414
          SHA512-
          38fd323f2f50c58424e4ee3c68b218c974edab17ae3f880acb7109a5eadb597e13dbe366e10
96818dc
          99aeb31d84193b8f0939cc568b6e6735d1f354d2926df4
          gavinprivate96@gmail.com.426018443926.Preserved_001.Calendar.Calendars_001.zip:
          MD5- 40337bdd0150d894c19f60b2b4317b96
          SHA512-
          dd440a5ac8a64a1ac06e837c9abf0dd9273f09028a92a81619dcbbad11782a11ab3552c255
1c114fb
          cf735ff520228c68d8f7a9ce340fd4be59f721b880d1577
          gavinprivate96@gmail.com.426018443926.Preserved_001.GoogleAccount.SubscriberInf
o_001.z
          ip:
          MD5- 5b38a0da84378d817927527a0309e3ee
          SHA512-
          59f20822f340ede3f1137968a6c6d5a68cfeeff414c250478822415a4d82bbfb04b94da38fa8
2ecb14
          4a981d46d324ec41fd4e3d13760e206bc9c725a1bd584b
          gavinprivate96@gmail.com.426018443926.Preserved_001.GoogleChat.UserInfo_001.zip
:
          MD5- 9cbaa1e8fe28596cb72fd8f132e7b902
          SHA512-
          8d8cb6e601d1b122f7264f96f645088e21ea34dac4f029e017369c95d33ca17a732b5983ed
8b5f4e8
          45110c39966571102349b4e944c53da35903e60f8136a74
          gavinprivate96@gmail.com.Gmail.Content.Preserved.mbox:
          MD5- 223a57f53beb967e56772e06823722cc
          SHA512-
          d4f556d4f7d92f0b92026f687f7bc15b5b9d4ac27d96c82f17d8f4f9e29102f0f15ecc66f03e
               64f9f06
                         1986b5b2188ef54883c267f27e744e8a4ba1bfe2ace6e
                         gavinprivate96@gmail.com.Gmail.Content.mbox:
                         MD5- 20cc5cec9b506c076295475792193a5c
                         SHA512-
                         81aac803456f9c5ffe1c13f21b6ddcd2bed6045ed80f867db888b357745f76335488747b876
               56139d
                         04e79809ee15607e9b67011694545e58a2d7b0e17b8eef5



       These documents include the following: e-mails belonging to Gavin Davis sent from

GAVINPRIVATE96@gmail.com between October 22, 2020 and May 19, 2021, along with

additional data and files associated with the GAVINPRIVATE96@gmail.com address that were

retained as such by Google LLC. A copy of the documents and business records affidavit for

Google is attached as Exhibit 2.

       “Relevant evidence is admissible[.]” FED. R. EVID. 402. Evidence is relevant if it has

“any tendency to make a fact more or less probable than it would be without the evidence,” and

“the fact is of consequence in determining the action.” FED. R. EVID. 401. Relevant evidence

should be admitted unless its probative value is substantially outweighed by the danger of unfair

prejudice. FED. R. EVID. 403.

       The Federal Rules of Evidence generally prohibit the admission of hearsay evidence

absent certain exceptions. See Fed. R. Evid. 801, 802.

       One of those exceptions is embodied in Rule 803(6), which states that business records

or, more specifically, “records of a regularly conducted activity,” may be admitted if they are

accompanied by a certification of their custodian or another qualified witness that the records

were (A) “made at or near the time by - or from information transmitted by – someone with

knowledge”; (B) “kept in the course of a regularly conducted activity of a business”; and (C)

“making the record was a regular practice of that activity.” FED. R. EVID. 803(6).

       The Federal Rules of Evidence also generally require documents to be authenticated as a
condition precedent to admissibility, though again, there are exceptions. FED. R. EVID. 901,

902.

        One such exception is for self-authenticating documents. Rule 902(11) states that records

of a regularly conducted activity need not be authenticated at trial if they are accompanied “by a

certification of the custodian or another qualified person” attesting that they meet each of the

requirements of Rule 803(6). FED. R. EVID. 902(11). Likewise, Rule 902(13) states that records

“generated by an electronic process or system that produces an accurate result” may also be

admitted solely using a certification that meets the requirements of Fed. R. Evid. 902(11). See

FED R. EVID. 902(13).

        To meet this authentication requirement, the proponent of the evidence must “provide

written notice . . . to all adverse parties” of its intention to offer the record into evidence under

that rule and must “make the record and declaration available for inspection sufficiently in

advance of their offer into evidence to provide an adverse party with a fair opportunity to

challenge them.” See Fed R. Evid. 902(11) & (13).

        The Confrontation Clause of the Sixth Amendment provides that “[i]n all criminal

prosecutions, the accused shall enjoy the right... to be confronted with the witnesses against

him.” U.S. Const. amend. VI.

        In Crawford v. Washington, 541 U.S. 36 (2004), the Supreme Court held that, under the

Confrontation Clause, “testimonial” statements of a witness who does not appear at trial cannot

be admitted against a criminal defendant unless the witness is unavailable and was previously

subject to cross-examination by the defendant. Id. at 53-54. “Testimonial” hearsay, the Court

explained, is typically a solemn declaration or affirmation made for the purpose of establishing

or proving some fact, under circumstances which would lead an objective witness reasonably to
believe that the statement would be available for use at a later trial. Id. at 51.

        The Supreme Court, however, has also recognized that business records are “statements

that by their nature [are] not testimonial.” Id. at 56; Melendez-Diaz v. Massachusetts, 557 U.S.

305, 310 (2009) (“Business and public records are generally admissible absent confrontation not

because they qualify under an exception to the hearsay rules, but because – having been created

for the administration of an entity’s affairs and not for the purpose of establishing or proving

some fact at trial - they are not testimonial.”); accord United States v. Feliz, 467 F.3d 227, 233-

37 (2d Cir. 2006).

        Federal Rule of Evidence 104(a) provides that “[p]reliminary questions concerning... the

admissibility of evidence shall be determined by the court.” FED. R. EVID. 104(a). In making

any such preliminary determination, courts are not bound by the rules of evidence, except those

on privilege, see id., or by the Confrontation Clause. See, e.g., Bourjaily v. United States, 483

U.S. 171, 178 (1987).

        Accordingly, this Court can review the business records certifications in advance of trial

(see the attached exhibits), decide whether it meets the requirements of Rule 902(11), and rule

accordingly on the admissibility of the records themselves.

        Because the purpose of requiring a custodial witness is merely to establish the

authenticity of the business and electronic records, and because the question of authenticity is

merely a threshold to admissibility, which is a matter this Court can determine in advance of

trial, without regard to the Federal Rules of Evidence, it would not be an affront to Davis’ right

of confrontation to allow the identified documents to be admitted through records certification.

        Lastly, Federal Rule of Evidence 611(a) gives the trial court the ability to exercise

reasonable control over the mode and order of presenting evidence. FED. R. EVID. 611(a). This
rule should be used by the trial court to: (1) make those procedures effective for determining the

truth; (2) avoid wasting time; and (3) protect witnesses from harassment or undue

embarrassment. Requiring the Government to call a custodian of records to testify when a

completed business record affidavit is readily available and admissible under FRE 803(6),

902(11), and 902(13), would be a waste of the Court’s time. See Id.

       For all of the foregoing reasons, the Court should deem the Google records authenticated

by certification and admissible without further need for testimony from custodian of records

witnesses to authenticate the records.




                                                 Respectfully submitted,

                                                 JAIME ESPARZA
                                                 UNITED STATES ATTORNEY


                                           By:       /s/
                                                     Zachary W. Parsons
                                                     Assistant United States Attorney
                                                     State Bar No. 24104449
                                                     601 NW Loop 410, Suite 600
                                                     San Antonio, Texas 78216
                                                     Zack.Parsons@usdoj.gov
                            CERTIFICATE OF SERVICE

       A copy of the foregoing has been served on Pro Se Defendant at:

Gavin B. Davis, #00197510
KCDF
810 Commerce Street
Karnes City, TX 78118

I further hereby certify that on this the 31st day of May 2024, a true and correct copy of the foregoing
instrument was electronically filed with the Clerk of the Court using the CM/ECF System providing
notice to Tom Moore, standby counsel for Defendant.


                                                                        /s/
                                                            Zachary W. Parsons
                                                            Assistant United States Attorney
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                           Plaintiff,          §
v.                                             §   Case No.: SA-22-CR-219-FB
                                               §
                                               §
GAVIN BLAKE DAVIS                              §
                            Defendant.




                                           ORDER

       On this day, the Court considered the Government’s Notice Pursuant to Federal Rules of

Evidence 803(6), 902(11), and 902(13) in the above-styled and numbered cause. The Court finds

that said motion should be GRANTED. It is therefore ORDERED that the business records

received from Google are hereby authenticated pursuant to FRE 803(6), 902(11) and 902(13) and

deemed admissible without further need for authentication.


       SIGNED this                          day of June, 2024.




                                               FRED BIERY
                                               U.S. DISTRICT COURT JUDGE
